 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

  JANE DOE,

                                 Plaintiff,

        v.
                                                       Civil Action No. 1:24-cv-07975-AT
  SEAN COMBS, DADDY’S HOUSE
  RECORDINGS INC., CE OPCO, LLC d/b/a
  COMBS GLOBAL f/k/a COMBS
  ENTERPRISES, LLC, BAD BOY
  ENTERTAINMENT HOLDINGS, INC., BAD
  BOY PRODUCTIONS HOLDINGS, INC., BAD
  BOY BOOKS HOLDINGS, INC., BAD BOY
  RECORDS LLC, BAD BOY ENTERTAINMENT
  LLC, BAD BOY PRODUCTIONS LLC,
  ORGANIZATIONAL DOES 1-10, INDIVIDUAL
  DOES 1-10, AND SHAWN CARTER,

                              Defendants.



      DECLARATION OF ALEX SPIRO IN SUPPORT OF DEFENDANT SHAWN
      CARTER’S MOTION FOR SANCTIONS, DISMISSING THE COMPLAINT
                    PURSUANT TO FED. R. CIV. P. 11

       I, Alex Spiro, swear under penalty of perjury, pursuant to 28 U.S.C. § 1746 as follows:

       1.     I am a partner at Quinn Emanuel Urquhart & Sullivan LLP, counsel to Defendant

Shawn Carter in the above-captioned action. If called as a witness, I could and would testify

competently to the information contained herein.

       2.     In December 2024, a representative of the New York Police Department informed

us that MTV’s permit request for a jumbotron for the September 7, 2000 Video Music Awards

was denied by the City of New York.




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        3.        Attached hereto as Exhibit 1 is a true and correct copy of the NBC News report on

an interview that its reporters conducted with the anonymous Plaintiff in this case that was

published on December 13, 2024 at 7:27 PM EST.

        4.        Attached hereto as Exhibit 2 is a true and correct copy of a photograph copyrighted

by Coleman-Rayner posted online showing Shawn Carter at Lotus Night Club the night of

September 7, 2000.

        5.        Attached hereto as Exhibit 3 is a true and correct copy of screenshots at time stamp

1:41 and 2:28 from publicly available video footage of the MTV Music Video Awards that aired

on September 7, 2000 (posted on YouTube at https://www.youtube.com/watch?v=tgmN-oF3vok)

showing the absence of a jumbotron located outside of the awards show.

        6.        Attached hereto as Exhibit 4 is a true and correct copy of screenshots at time stamp

4:39 and 10:08 from publicly available video footage of the MTV Music Video Awards that aired

on September 7, 2000 (posted on YouTube at https://www.youtube.com/watch?v=tgmN-oF3vok)

showing the barriers surrounding limousines preventing the crowd from approaching occupants.

        7.        Attached hereto as Exhibit 5 is a true and correct copy of screenshots at time stamp

0:07, 0:43, and 0:47 from publicly available video footage of the MTV Music Video Awards that

aired        on        September        7,       2000       (posted       on       YouTube          at

https://www.youtube.com/watch?v=9zTaeDum03w) showing that limousines departed the

vicinity of Radio City and were not parked outside during the show.

        8.        Attached hereto as Exhibit 6 is a true and correct copy of relevant excerpts from a

certified transcript of the October 3, 2024 interview of Attorney Anthony Buzbee on the Chris

Hansen Show.




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       9.      Attached hereto as Exhibit 7 is a true and correct copy of relevant excerpts from a

certified transcript of the October 1, 2024 press conference held by Attorney Anthony Buzbee in

Houston, Texas.

       10.     Attached hereto as Exhibit 8 is a true and correct copy of a photograph copyrighted

by Henry McGee/Globe Photos, Inc. posted online showing Sean Combs and Jennifer Lopez at

Twirl Night Club the night of September 7, 2000.

       11.     Attached hereto as Exhibit 9 is a true and correct copy of a list of New York City

Automated City Register Information System (ACRIS) search results for deed and other

conveyance documents listing Sean Combs as a party.

       12.     Attached hereto as Exhibit 10 is a true and correct copy a CNN report on an

interview that its reporters conducted with the anonymous Plaintiff in another case brought by

Attorney Anthony Buzbee against Sean Combs that was published on December 11, 2024 at 12:56

PM EST.

       13.     Attached hereto as Exhibit 11 is a true and correct copy of a photograph showing

the entrance of the property located at 813 Park Avenue, New York, NY 10021.

       14.     Attached hereto as Exhibit 12 is a true and correct copy of excerpts from the

transcript of the interview of Attorney Anthony Buzbee on TMZ Presents: The Downfall of Diddy

Inside the Freak-Offs that aired on April 28, 2024.

       15.     Attached hereto as Exhibit 13 is a true and correct copy of a deed record from

Suffolk County generated through a Lexis Nexis search for real property records listing Sean

Combs as a party.

       16.     Attached hereto as Exhibit 14 is a true and correct copy of a photograph showing

the entrance of the property located at 40 Hedges Banks Drive, East Hampton, New York 11937.



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       I declare under the penalty of perjury that the foregoing statements are true and correct.

Executed in New York, New York on the 8th day of January 2025.



                                                           /s/ Alex Spiro______________

                                                           Alex Spiro




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